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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,                             Case No. 24‐CR‐0072 (PJS/LIB)



            Plaintiff,

v.                                                           ORDER OF DISMISSAL

JERRY HAL SALITERMAN,

            Defendant.



      IT IS HEREBY ORDERED that pursuant to Rule 48(a) of the Federal Rules of

Criminal Procedure, the United States’ motion for dismissal [ECF No. 45] is GRANTED

and the Indictment against the above‐named defendant is DISMISSED.




Dated: March 17, 2025

                                                   s/Patrick J. Schiltz
                                                   Patrick J. Schiltz, Chief Judge
                                                   United States District Court
